USCA4 Appeal: 24-1321     Doc: 8         Filed: 08/26/2024    Pg: 1 of 3




                                            UNPUBLISHED

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                              No. 24-1321


        REGINALD WRIGHT,

                            Plaintiff - Appellant,

                     v.

        COMMONWEALTH OF VIRGINIA DEPARTMENT OF CHILD SUPPORT
        ENFORCEMENT; VERLITA HARRIS, individually and in her official capacity as
        an Operations Manager; LAURA MCVAY, individually and in her capacity as a
        Child Support Attorney; CONSTANCE H. FROGALE, individually and in her
        capacity as a Judge in her respective court in the City of Alexandria, Virginia;
        THOMAS KEVIN CULLEN, individually and in his capacity as a Judge in his
        respective court in the City of Alexandria, Virginia; JAMES C. CLARK,
        individually and in his capacity as a Judge in his respective court in the City of
        Alexandria, Virginia; KATHLEEN M. USTON, individually and in her capacity as
        a Judge in her respective court in the City of Alexandria, Virginia,

                            Defendants - Appellees.



        Appeal from the United States District Court for the Eastern District of Virginia, at
        Alexandria. Claude M. Hilton, Senior District Judge. (1:23-cv-01232-CMH-WEF)


        Submitted: August 22, 2024                                    Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.
USCA4 Appeal: 24-1321      Doc: 8        Filed: 08/26/2024     Pg: 2 of 3




        Reginald Wright, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

                 Reginald Wright appeals the district court’s order denying relief on his 42 U.S.C.

        § 1983 action in which he raised claims related to his child support obligation. We have

        reviewed the record and find no reversible error. Accordingly, we affirm the district court’s

        order.     Wright v. Commonwealth of Virginia Dep’t of Child Support Enf’t, No.

        1:23-cv-01232-CMH-WEF (E.D. Va. Mar. 6, 2024). We dispense with oral argument

        because the facts and legal contentions are adequately presented in the materials before this

        court and argument would not aid the decisional process.

                                                                                        AFFIRMED




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